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wv SECTIONZ . <—*

ON
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CIVIL DISTRICT COURT FOR THE PARISHOR ORLEANS
. &
STATE OF LOUL 3
\ money 8 1e

NOWUL U5 “9. DIVISION" = *

ANDREW GOLDMAN

VERSUS

NATIONWIDE MUTUAL INSURANCE COMPANY. » BARBARA ANDERSON,
LITTLE HILL FOUNDATION FOR THE REHABILITATION OF ALCOHOLICS,
PHILADELPHIA INSURANCE COMPANY, EAN HOLDINGS, L.L.C., TIFFANY

JONES, ENTERPRISE LEASING COMPANY OF NEW ORLEAN. 5, AND
ENTERPRISE RENT-A-CAR COMPANY

FILED:

DEPUTY CLERK

PETITION FOR DAMAGES

NOW INTO COURT, through undersigned counsel, comes plaintiff, Andrew Goldman, a
person of the full age and majority, who, with respect, shows the Court a3 follows:
1. ,
That defendant, Barbara Anderson, is a person of the full ape and majority and a resident
of and domiciled in the County of Douglas, State of Georgia; that defendant, Tiffany Jones, is a
person of the full age and majority and a resident of and domiciled in the Parish of Orleans, State
of Louisiana; that Little Hill Foundation for the Rehabilitation of Alcoholics, made a party
Defendant herein, is a foreign company not authorized to do and doing business in the State of
Louisiana; that Philadelphia Insurance Company, made a party Defendant herein, is a foreign
insurance company authorized to do and doing business in the State of Louisiana; that Enterprise
Leasing Company of New Orleans, made a party Defendant herein, is a foreign company
authorized to do and doing business in the State of Louisiana; that Enterprise Rent-A-Car
Company, made a party defendant herein, is a foreign company authorized to do and doing
business in the State of Louisiana; that Ean Holdings, L.L.C, made a party Defendant herein, is 2
forcign company authorized to do and doing business in the State of Louisiana; and that
Nationwide Mutual Insurance Company, made a party Defendant herein, is a foreign insurance
company authorized to do and doing business in the State of Louisiana.
Ir,
That on or about May 22, 2010, at approximately 1:30 p.m., defendant, Barbara

Anderson, was operating a 2010 Chrysler Town and Country, with the permission of its owner,

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in a westerly direction on St Charles Avenue near its intersection with St. Joseph Street in the
Parish of Orleans, State of Louisiana
HL

That at approximately the same time and place, defendant, Tiffany Jones, was operating a

2010 Chevrolet Equinox, with the permission of its owner, in 8 southerly direction on St. Joseph
” Street near its intersection with St. Charles Avenue in the Parish of Orleans, State of Louisiana,
TV.

‘That at the time and place referenced above, the vehicle being operated by Barbara
Anderson failed to stop at a red traffic light at the intersection of St. Charles Avenue at St.
Joseph Street and caused the vehicle operated by Tiffany Jones to strike it.

ve

Alternatively, that at the time and place referenced above, the vehicle being operated by
Tiffany Jones failed to stop at a red traffic light at the intersection of St Joseph Street at St.
Charles Avenue and struck the vehicle being operated by Barbara Anderson.

VL

That all times mentioned hereinabove, plaintiff, Andrew Goldman, was a passenger in the

vehicle being operated by Tiffany Jones.
Vil.

That the aforesaid accident sued on herein was the fault of and proximately caused by
defendant, Barbara Anderson, in the following, non-exchisive respects:

(&) By failing to stop at a red traffic light,

(b) Failing to properly maintenance her vehicle;

(c} ‘Violating any and all applicable city and state motor vehicle laws:

(d) ~—s- Failing to take advantage of the Jast clear chance doctrine in avoiding the
accident; ‘ .
(¢) ‘In operating the vehicle under her control in a reckless and negligent manner;

@® By failing to maintain reasonable and proper control of the vehicle under her
control upon a public road;

(g} ‘By failing to see what should have been seen; and

(bh) ~—s All other acts of negligence which were the cause of the accident sued upon end
which will be shown at the trial of this matter.

VHL

That the aforesaid accident sued on hercin was the fault of and proximately caused by

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defendant, Tiffany Jones, in the following, non-exclusive.respects:
(2) _ By failing to stop at a red traffic light;
) Failing to properly maintenance her vehicle;
~ {3} Violating any and all applicable city and state motor vehicle laws;

(4) Failing to take advantage of the last clear chance doctrine in avoiding the -
accident; .

(e), In operating the vehicle under her control in a reckless and negligent manner:

( By failing to maintain reasonable and proper contro! of the vehicle under her
control upon a public road;

(e) ‘By failing to see what should have been seen; and

(h) All other acts of negligence which were the cause of the accident shed upon and
which will be shown at the trial of this matter.

im.
That as a result of the aforesaid collision, plaintiff, Andrew Goldman, hes sustained
serious injuries to his body, together with past and future mental anguish and physical suffering;
” past and future expenses for medical care; past and future physical disability; loss of enjoyment
of life; past and future loss of wages, fringe benefits, and wage earning capacity; all other special
and genera! damages as will be shown at the trial of this matter; all of which entitles plaintiff to
recover from defendants the damages as are reasonable in the premises.
x

That upon information and belief, at all times mentioned bereinabove, Barbara Anderson
was employed by and acting within the course and scape of her employment with Little Hill
Foundation for the Rehabilitation of Alcoholics; and therefore, pursuant to Louisiana Civil Code
Article 2320, Little Hill Foundation for the Rehabilitation of Alcoholics is a proper party
defendant. .

XT,

That upor information and belief, at all limes mentioned hereinabove, Tiffany Jones was
employed by and acting within the course and scope of her employment with Enterprise Leasing
Company of New Orleans and/or Enterprise Rent-A-Car Company: and therefore, pursuant to
Louisiana Civil Code Article 2320, Enterprise Leasing Company of New Orleans and/or
Enterprise Rent-A-Car Company are proper party defendants,

XII.

Plaintiff shows that at all times mentioned hereinabove, there was in full force and effect

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a policy of automobile insurance issued by defendant, Philadelphia Insurance Company, under
the ferms and conditions of which it agreed to insure and indemnify defendants, Barbara
Anderson and Little Hill Foundation for the Rehabilitation of Alcoholics, from the type of
liability asserted herein.
xT
That upon information and belief, at all times mentioned hereinabove, the vehicle being

operated by Barbara Anderson was owned by Ean Holdings, L.L.C.; that Ean Holdings, L.L.C.,

in its capacity as the owner of the vehicle being operated by Barbara Anderson, was negligent in

the entrustment and/or leasing of the subject vehicle to Barbara Anderson; and that said
entnustment and/or leasing was a further contributing cause of the accident.
xIV,

That upon information and belief, at all times mentioned hereinabove, the vehicle being
operated by Tiffany Jones was owned by Enterprise Leasing Company of New Oneans and/or
Enterprise Rent-A-Car Company; that Enterprise Leasing Company of New Orleans and/or
Enterprise Rent-A-Car Company were negligent in the entrustment and/or leasing of the subject
vehicle to Tiffany Jones; and that said entrustment and/or leasing was a further contributing
cause of the accident.

XV.

Plaintiff shows that at all times mentioned hereinabove, there was in filll force and effect
8 policy of uninsured/underinsured motorist insurance issued by defendant, Nationwide Mutual
Insurance Company, under the terms and conditions of which said insurer agreed to provide
uninsured/underinsured motorist benefits to the plaintiff, and that evidence in this case will
reflect that Barbara Anderson and/or Tiffany Jones were uninsured/underinsured on the date of
loss, and therefore, said defendants are oninsured/underinsured motorists under the terms of the
policy of insurance issued by defendant, Nationwide Mutual Insurance Company, and therefore,
Nationwide Mutual Insurance Company is a proper party defendant.

WHEREFORE, your plaintiff, Andrew Goldman, prays that defendants,

Nationwide Mutual Insurance Company, Little Hill Foundation for the Rehabilitation of

’ Aleoholics, Philadelphia Insurance Company, Ean Holdings, L.L.C., Enterprise Leasing
Company of New Orleans, Enterprise Rent-A-Car Company, Barbara Anderson, and Tiffany
Jonés, be served with a certified copy of this petition, and after being duly cited to appear and

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answer hereto, and after the expiration of all legal delays and due proceedings are had, that there
be judgment rendered here in favor of plaintiff, Andrew Goldman, and against defendants,
Nationwide Mutual Insurance Company, Little Hill Foundation for the Rehabilitation of
Alcoholics, Philadelphia Insurance Company, Ean Holdings, L.L.C., Enterprise Leasing
Company of New Oxleans, Enterprise Rent-A-Car Company, Barbara Anderson, and Tiffany
Jones, jointly and in solido, or, altematively, individually and severally, for damages a5 are
reasonable in the premises, said judgment to bear legal interest from the date of judicial demand
until paid, and for all costs of these proceedings and all other legal and equitable relief to which

plaintiff is entitled.

Respecifully Submitied,

~Kilewe te lm —

TIMOTHY J. YOUNG (22677)
JASON C. MACFETTERS (29617)
REBECC A. COMAN (28845)
THE YOUNG FIRM

400 Poydras Street, Suite 2000
New Orleans, LA 70139.
Telephone: (504) 680-4100
Facsimile (504) 680-4101

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PLEASE SERVE:

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(5)

(6)

(8)

Barbera Anderson, .

Through her agent for service of process pursuant to LSA-R.S, 13:3474, et seq.

(LA Non-Resident Motorist Statutes),

Louisiana Secretary of State , ‘
8585 Archives Ave. ,
Baton Rouge, LA 70309

Tiffany Jones
3408 St. Ferdinand
New Orleans, LA 70126

Ean Holdings, LLC,

Through its agent for service of process,
CT Corporation System :
5615 Corporate Blvd, Ste 4008

Baton Rouge, LA 70808

Enterprise Leasing Company of New Orleans
Through its agent for service of process,

CT Corporation System

5615 Corporate Bivd, Ste 400B

Baton Rouge, LA 70808

Nationwide Mutual Insurance Company
Through its agent for service.of process,
Louisiana Secretary of State ,
8585 Archives Ave.

Baton Rouge, LA 70809

Enterprise Rent-A-Car Company
Through its agent for service of process,
CT Corporation System

3615 Corporate Blvd, Ste 400B

Baton Rouge, LA 70808

Litele Hill Foundation for the Rehabilitation of Alcoholics,

Through its agent for service of process pursnant to LSA-R.S. 13-3201, et seq.
(LA Long-arm Statutes),

Louisiana-Secretary of State

8585 Archives Ave.

Baton Rouge, LA 76809

Philadelphia Insurance Company,
Through its agent for service of process,
Louisiana Secretary of State

8585 Archives Ave,

Baton Rouge, LA 70809

